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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION
ERIC WILLIAMS,                           §
             Petitioner,                 §
                                         §
v.                                       §
                                         §   CIVIL ACTION NO. 3:20-cv-3030-N
BOBBY LUMPKIN, Director,                 §          (Death Penalty Case)
Texas Department of Criminal             §
Justice, Correctional Institutions       §
Division,                                §
                  Respondent.            §

          RESPONDENT LUMPKIN’S DISCOVERY OPPOSITION

        Eric Williams is a death-sentenced Texas inmate. He wants discovery

related to the postconviction reinterpretation of DNA testing conducted in his

case. See Pet’r’s Mot. Leave File Subpoena Duces Tecum for DNA Materials 2–

9, ECF No. 71 [hereinafter “Disc. Mot.”]. The Director opposes.

I.      The Discovery Standard

        “A habeas petitioner . . . is not entitled to discovery as a matter of

ordinary course.” Bracy v. Gramley, 520 U.S. 899, 904 (1997). Rule 6 of the

Rules Governing Section 2254 Cases provides the standard—a federal habeas

“judge may, for good cause, authorize a party to conduct discovery.” Rule 6(a),

28 U.S.C. foll. § 2254. Good cause, in turn, may be found “‘where specific

allegations . . . show reason to believe that the petitioner may, if the facts are

fully developed, be able to demonstrate that he is . . . entitled to relief.’” Bracy,

520 U.S. at 908–09 (quoting Harris v. Nelson, 394 U.S. 286, 300 (1969)). “[T]he
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scope and extent of such discovery is a matter confided to the discretion of the

District Court.” Id. at 909.

II.   Williams’s Discovery Request Is Premature and Conclusory.

      Williams doesn’t cite a single scrap of law or engage the standard for

granting discovery in habeas cases. Thus, it is not clear why Williams wants

the discovery he requests. It may be to “locat[e] potential Brady evidence.”

Disc. Mot. 8. Or it may be to “fully assess the significance of the DNA

reinterpretations.” Id. Or it may be to “further support a third-party defense.”

Id. at 9. But whatever the reason, the request is premature. “Discovery is tied

to the pleadings, particularly in habeas litigation, which does not allow

discovery as an investigative tool to identify habeas claims.” Cole v. Davis, No.

H-17-940, 2018 WL 6019165, at *2 (S.D. Tex. Nov. 16, 2018) (Rosenthal, C.J.).

Like the petitioner in Cole, Williams “has not identified authority designating

discovery as a tool for preparing (or in this case, amending) a federal habeas

petition.” Id. at *3. Williams’s discovery request should be denied as

premature.

      The discovery request should also be denied as conclusory. “Before

addressing whether [a] petitioner is entitled to discovery,” a court “must first

identify the ‘essential elements’ of th[e] claim” for which discovery is sought.

Bracy, 520 U.S. at 904. Here, that is impossible because Williams doesn’t link

his discovery request with a claim, just with hints of one or two. That prevents


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the Court from engaging in the first step of the legal inquiry—identifying the

essential element of his claim or claims—and thus his discovery request should

be denied as conclusory.

III.   Because Any New Claim Is Procedurally Defaulted and
       Untimely, Discovery Should Be Denied.

       “As a threshold matter . . . a court must also take into account the

procedural posture of an inmate’s claims. A petitioner cannot show good cause

if a federal court cannot reach the merits of the disputed claims.” Thompson v.

Stephens, No. H-13-1900, 2014 WL 2765666, at *2 (S.D. Tex. June 18, 2014)

(Miller, J.) (citing Rucker v. Norris, 563 F.3d 766, 771 (8th Cir. 2009); Williams

v. Bagley, 380 F.3d 932, 975 (6th Cir. 2004)). Here, Williams seems to suggest

that this discovery would possibly be relevant to a yet unpled Brady or actual

innocence claim. See Disc. Mot. 8–9. But neither was raised in state court, so

they are procedurally defaulted in this Court. See, e.g., Neville v. Dretke, 423

F.3d 474, 480 (5th Cir. 2005). And neither was in Williams’s initial federal

petition, so they are untimely and there is no relation back. See, e.g., Mayle v.

Felix, 545 U.S. 644, 662–64 (2005). Because Williams’s possible Brady and

actual innocence claims are procedurally defaulted and untimely, he “cannot

show good cause for discovery on a claim in a federal court” because “procedural

impediments preclude considering the merits of that claim.” Cole, 2018 WL




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6019165, at *4. As such, discovery should be denied as the possible claims are

procedurally defaulted and time barred.

IV.   Because New Evidence Cannot Be Considered Under 28 U.S.C.
      § 2254(e)(2), Discovery is Pointless.

      Section 2254(e)(2) “restricts the discretion of federal courts to consider

new evidence when deciding claims that were not adjudicated on the merits in

state court. Cullen v. Pinholster, 563 U.S. 170, 186 (2011). This bar is triggered

if the petitioner “has failed to develop the factual basis of a claim in State court

proceedings. 28 U.S.C. § 2254(e)(2). The opening clause is met if the prisoner

“was at fault for failing to develop the factual bases for his claims in sate court,

Bradshaw v. Richey, 546 U.S. 74, 79 (2005) (per curiam), meaning a “lack of

diligence, or some greater fault, attributable to the prisoner or the prisoner’s

counsel,” Williams v. Taylor, 529 U.S. 420, 432 (2000).

      Williams maybe suggests that state habeas counsel were ineffective for

failing to follow up on the DNA reinterpretation results. See Disc. Mot. 7

(“Although the Office of Capital Writs was advised of this development, the

attorneys were too swamped to investigate the new DNA results.” (citation

omitted)). But if Williams is correct that his state habeas counsel was

ineffective for not reviewing the DNA reinterpretation results or possibly

raising a claim based on them, § 2254(e)(2)’s opening clause has been triggered.

And Williams fails to meet an exception to this evidentiary restriction—relying



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on a new, retroactive rule of constitutional law or being unable to discover the

factual basis of his claim using diligence combined with actual innocence.

§ 2254(e)(2)(A)–(B). Accordingly, because the Court cannot consider whatever

might be produced in discovery, the Court should not grant it.

V.    Because Williams’s Possible Claims Are Without Merit, He Fails
      to Show Good Cause.

      Again, Williams fails to explicitly link his request for the DNA

documentation to any claim. But if he’s alleging a Brady claim, see Disc. Mot.

8, it cannot succeed. And that’s because the reinterpretation of the DNA testing

results occurred after trial. See Disc. Mot. Ex. 3. This is important because

evidence that did not exist at the time of trial cannot be suppressed, nor could

it have been introduced for purposes of establishing materiality. See, e.g.,

Brogdon v. Blackburn, 790 F.2d 1164, 1168 (5th Cir. 1986) (“The prosecution

has no duty to turn over to the defense evidence tat does not exist.”). It is also

important because Brady does not apply at all to evidence discovered for the

first time after conviction. See Dist. Att’y’s Off. for Third Jud. Dist. v. Osborne,

557 U.S. 52, 68–69 (2009). There’s no way Williams can prevail on a Brady

claim based on evidence that didn’t exist at the time of trial.

      To the extent that Williams is trying to prove up an actual innocence

claim, see Mot. Disc. 9, that too is meritless. For one, the claim doesn’t exist in

federal habeas. See, e.g., United States v. Shepherd, 880 F.3d 734, 740 (5th Cir.



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2018); Coleman v. Thaler, 716 F.3d 895, 908 (5th Cir. 2013). For another, the

best that Williams can muster from the reinterpretation is that there are now

some inconclusive results when there used to be exclusions. See Mot. Disc. 3–

7. Considering the strong evidence 1 that Williams murdered the McLellands,

that someone else’s DNA is inconclusively found on various items doesn’t prove,

clearly and convincingly, that Williams is innocent. Because neither of these

possible claims have any merit, they cannot justify Williams’s discovery

request and it should be denied.

                                 CONCLUSION

       For the reasons above, Williams’s request for discovery should be denied.

                                       Respectfully submitted,

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                                       Attorney General of Texas

                                       BRENT WEBSTER
                                       First Assistant Attorney General

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                                       Deputy Attorney General
                                       For Criminal Justice



1      Amongst other evidence, (1) Williams had a strong motive to kill Mike
McLelland as McLelland’s prosecution of Williams led to him losing his judgeship,
law license, and Texas Guard position, 1.Supp.SHCR-01, at 11; (2) Williams had
gunshot residue on his hands hours after the murders, id. at 11; (3) tool marks linked
a live round of ammunition found in a storage unit rented for Williams to the spent
shell casings recovered at the McLellands crime scene, id. at 13–14; (4) video showed
a Crown Victoria associated with Williams leaving the storage facility shortly before
and returning shortly after the murders, id. at 15–16; and (5) and his wife testified
that Williams killed the McLellands and that she helped, id. at 25–26.


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                       CERTIFICATE OF SERVICE

       I do herby certify that on March 11, 2022, I electronically filed the
foregoing pleading with the Clerk of the Court for the U.S. District Court,
Northern District of Texas, using the electronic case-filing system of the Court.
The electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to
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